         Case 5:18-cr-00227-SLP Document 232-154 Filed 04/01/22 Page 1 of 8

This transcript was exported on Mar 31, 2022 - view latest version here.


Joe Maldonado (00:00):
First of all.

Jeff Lowe (00:00):
And there was a tiger, is there a tiger here [inaudible 00:00:02].

Joe Maldonado (00:02):
Yeah [crosstalk 00:00:03]. We still have his [inaudible 00:00:04] 20 by 20.

Jeff Lowe (00:06):
[inaudible 00:00:06] seven nine. Some stupid name starts with a [inaudible 00:00:10] I can't remember.

Joe Maldonado (00:29):
Yeah we did [inaudible 00:00:30]

Lauren Lowe (00:30):
[inaudible 00:00:30] likes baths.

Jeff Lowe (00:30):
[inaudible 00:00:30] right eye.

Joe Maldonado (00:30):
Then they can go to museum [inaudible 00:00:30]

Lauren Lowe (00:31):
So wait was this the falsifying paperwork that we had to deal with that investigator that one day?

Jeff Lowe (00:36):
Yeah. Yeah. The USDA inspector that came here. Wanting to know... he goes, "When did you move a
tiger... a cougar to [inaudible 00:00:42]?" I said, "I have no idea what you're talking about, I haven't had
a cougar since I was 15 years old."

Joe Maldonado (00:46):
[inaudible 00:00:46] my name.

Lauren Lowe (00:46):
They're under your name?

Joe Maldonado (00:47):
From there to here.

Jeff Lowe (00:48):
Yeah, I said, "I ain't had a cougar since I was 15 years old."

2018-06-13 Jeff Lowe, Lauren Lowe and Joe Maldonado                                           Page 1 of 8
Transcript by Rev.com
                                                                                          Exhibit 156
        Case 5:18-cr-00227-SLP Document 232-154 Filed 04/01/22 Page 2 of 8

This transcript was exported on Mar 31, 2022 - view latest version here.


Joe Maldonado (00:50):
And we got Oklahoma permit [inaudible 00:00:56] real people going to try to sell you out to sell
[inaudible 00:01:05].

Lauren Lowe (01:13):
Oh shit that hurt.

Jeff Lowe (01:15):
[inaudible 00:01:15] over here.

Joe Maldonado (01:18):
God damn man. Some big tigers. Fucking we went through four bottles of drugs a piece.

Lauren Lowe (01:25):
Already?

Joe Maldonado (01:26):
Yes.

Jeff Lowe (01:27):
How are we going to do this? Look in that way. Get that thing... put that post through the hole [crosstalk
00:01:33]

Lauren Lowe (01:32):
Is he moving?

Joe Maldonado (01:35):
Huh?

Lauren Lowe (01:35):
Is he starting to move?

Joe Maldonado (01:36):
Well it's going to be not long and he is because he's been down a long time.

Jeff Lowe (01:40):
God damn. Yeah.

Lauren Lowe (01:41):
Jeff, be careful with your wrist.

Joe Maldonado (01:47):
I'd just roll him.

2018-06-13 Jeff Lowe, Lauren Lowe and Joe Maldonado                                        Page 2 of 8
Transcript by Rev.com
                                                                                        Exhibit 156
        Case 5:18-cr-00227-SLP Document 232-154 Filed 04/01/22 Page 3 of 8

This transcript was exported on Mar 31, 2022 - view latest version here.


Jeff Lowe (01:49):
[inaudible 00:01:49]

Joe Maldonado (01:49):
Yeah I'd just... grab the front leg and just tip him over.

Jeff Lowe (01:53):
It's so soft in here you can't get any...

Lauren Lowe (01:54):
Oh my god, it is really soft.

Jeff Lowe (01:56):
[inaudible 00:01:56] going to ruin your...

Lauren Lowe (01:56):
I don't care they're already ruined.

Joe Maldonado (01:57):
[inaudible 00:01:57] watch your leg.

Speaker 4 (02:03):
You see his arm's getting stiff there?

Jeff Lowe (02:05):
You see [inaudible 00:02:06]

Speaker 4 (02:08):
Oh yeah.

Joe Maldonado (02:08):
Let me bump them.

Jeff Lowe (02:09):
Yeah. [inaudible 00:02:10] back up.

Lauren Lowe (02:12):
Come on, Jeff.

Speaker 4 (02:13):
Once the leg starts getting stiff [crosstalk 00:02:15]

Speaker 5 (02:14):

2018-06-13 Jeff Lowe, Lauren Lowe and Joe Maldonado                         Page 3 of 8
Transcript by Rev.com
                                                                           Exhibit 156
          Case 5:18-cr-00227-SLP Document 232-154 Filed 04/01/22 Page 4 of 8

This transcript was exported on Mar 31, 2022 - view latest version here.


I was just trying to move my leg out of the way. I didn't want all that weight to swing back on Jeff so I
was like [inaudible 00:02:21] going to hold this [crosstalk 00:02:23]

Jeff Lowe (02:27):
Fatso.

Lauren Lowe (02:28):
[inaudible 00:02:28] [inaudible 00:02:28] kitty.

Speaker 5 (02:49):
[inaudible 00:02:49]

Lauren Lowe (02:49):
Bigger?

Speaker 5 (02:49):
Oh yeah. [inaudible 00:02:52] took up the whole stretcher. Shit was just falling off the sides. We were
just like waddling off with her. Yeah, that was funny.

Jeff Lowe (03:01):
[inaudible 00:03:01]

Joe Maldonado (03:10):
[inaudible 00:03:10] you move a cat from Ohio to [inaudible 00:03:12] under your name?

Jeff Lowe (03:13):
I know.

Speaker 5 (03:20):
[inaudible 00:03:20] that's a good question [crosstalk 00:03:23]

Joe Maldonado (03:22):
(laughs) You got to have a [inaudible 00:03:25] cage in a while first of all.

Jeff Lowe (03:26):
Well why did the USDA inspector even come in here and question that [inaudible 00:03:30] that farm?

Joe Maldonado (03:31):
Probably be... I don't know, but... what would be the purpose of going from Ohio to Indiana?

Jeff Lowe (03:36):
I think the only reason they did it is because they knew they had him in court saying it had died. And
then all of the sudden I'm transferring...


2018-06-13 Jeff Lowe, Lauren Lowe and Joe Maldonado                                          Page 4 of 8
Transcript by Rev.com
                                                                                          Exhibit 156
        Case 5:18-cr-00227-SLP Document 232-154 Filed 04/01/22 Page 5 of 8

This transcript was exported on Mar 31, 2022 - view latest version here.


Joe Maldonado (03:44):
But why didn't they [crosstalk 00:03:45] use somebody that lived in Ohio?

Jeff Lowe (03:45):
I don't know. It's all weird.

Joe Maldonado (03:49):
Because ODNA would have checked up on that probably.

Lauren Lowe (03:51):
I remember him showing us that paper too.

Jeff Lowe (03:54):
He showed me a paper and said, "Is this your signature?" I said, "[inaudible 00:03:56]"

Joe Maldonado (03:58):
Well, ODNA knows that she didn't live in Ohio. (laughs) Because the cougar had to originate from Ohio,
did it not?

Jeff Lowe (04:11):
I thought... fuck I don't know. I can't remember if they claimed I gave it to him to begin with and that's
where he got it or if they're claiming he sent it to me. But I thought it meant... No, because he asked me,
says, "Do you have cougars?" And I said, "No, I haven't had them since 16." He says, "Well did you send
one, did you send one..."

Lauren Lowe (04:30):
To Stark.

Jeff Lowe (04:30):
"... to Tim Stark" And I said, "Who? No."

Lauren Lowe (04:33):
We never knew who that was then.

Jeff Lowe (04:34):
I didn't even know who he was at that time. They were trying to be tricky about something. Because
they even had my USDA number on it, which I know at this time you could probably get that offline.

Joe Maldonado (04:46):
Back then you probably couldn't.

Jeff Lowe (04:54):
[inaudible 00:04:54]


2018-06-13 Jeff Lowe, Lauren Lowe and Joe Maldonado                                         Page 5 of 8
Transcript by Rev.com
                                                                                          Exhibit 156
           Case 5:18-cr-00227-SLP Document 232-154 Filed 04/01/22 Page 6 of 8

This transcript was exported on Mar 31, 2022 - view latest version here.


Speaker 6 (04:54):
I got...

Jeff Lowe (04:54):
He's popping the flies off his ears.

Speaker 6 (04:59):
I got one in my [crosstalk 00:05:00]

Joe Maldonado (04:59):
That [inaudible 00:05:00] was too and that bitch was out (laughs) that was all dead weight, dude.

Lauren Lowe (05:04):
Now how are we going to know?

Joe Maldonado (05:07):
I felt every fucking vertebrae burn on the way up lifting her.

Lauren Lowe (05:11):
You be careful [inaudible 00:05:15]

Jeff Lowe (05:15):
Yeah, my shoulder's fucked up but I [crosstalk 00:05:17] I do my best.

Joe Maldonado (05:19):
They called and rescheduled my pre-op for 10 o'clock in the morning.

Jeff Lowe (05:26):
So you got your insurance [inaudible 00:05:27]

Joe Maldonado (05:29):
Yep. I'll pick up produce while I'm [crosstalk 00:05:30] save that trip. I think pre-op all they do is take
your blood and vital signs and shit, make sure that you're not going to die on the table.

Jeff Lowe (05:39):
Right.

Speaker 6 (05:43):
I know Tuesday is a long way away, but I got to leave work early Tuesday.

Jeff Lowe (05:47):
Okay.



2018-06-13 Jeff Lowe, Lauren Lowe and Joe Maldonado                                             Page 6 of 8
Transcript by Rev.com
                                                                                            Exhibit 156
        Case 5:18-cr-00227-SLP Document 232-154 Filed 04/01/22 Page 7 of 8

This transcript was exported on Mar 31, 2022 - view latest version here.


Speaker 6 (05:48):
I got [crosstalk 00:05:49] DUI assessment.

Jeff Lowe (05:51):
[inaudible 00:05:51] [crosstalk 00:05:51]

Speaker 6 (05:51):
I haven't had a drink since the day.

Speaker 7 (05:58):
That's what I always ask about DUI class. What do they teach you how to drive drunk? Is that how that
works. What's that all about?

Joe Maldonado (06:10):
All right.

Lauren Lowe (06:10):
All right. [inaudible 00:06:10]

Joe Maldonado (06:15):
[inaudible 00:06:15] (laughs)

Speaker 6 (06:18):
Remember that [inaudible 00:06:18] fucking...

Joe Maldonado (06:21):
[inaudible 00:06:21] ready, set...

Jeff Lowe (06:25):
Hang on a minute [crosstalk 00:06:25] (laughter)

Joe Maldonado (06:29):
One, two, three [crosstalk 00:06:29]

Lauren Lowe (06:30):
Oh my god. [crosstalk 00:06:34]

Joe Maldonado (06:39):
[inaudible 00:06:39] [inaudible 00:06:44] [crosstalk 00:06:46]

Lauren Lowe (06:46):
I just heard him... okay. He growled.



2018-06-13 Jeff Lowe, Lauren Lowe and Joe Maldonado                                     Page 7 of 8
Transcript by Rev.com
                                                                                     Exhibit 156
       Case 5:18-cr-00227-SLP Document 232-154 Filed 04/01/22 Page 8 of 8

This transcript was exported on Mar 31, 2022 - view latest version here.


Jeff Lowe (06:53):
We're almost [crosstalk 00:06:54]

Lauren Lowe (06:54):
(laughs) (laughter)

Speaker 6 (06:58):
[crosstalk 00:06:58] Get out of there.

Lauren Lowe (07:00):
Move, Jeff. Go around.

Joe Maldonado (07:01):
These are some drug addicts [crosstalk 00:07:03]

Speaker 6 (07:03):
What'd I say? What'd I say?

Speaker 7 (07:04):
Yeah, they are...




2018-06-13 Jeff Lowe, Lauren Lowe and Joe Maldonado                         Page 8 of 8
Transcript by Rev.com
                                                                           Exhibit 156
